      Case 1:05-cr-00161-LJO Document 519 Filed 02/08/07 Page 1 of 2


 1 KATHERINE HART #76715
   Attorney at Law
 2 2055 San Joaquin
   Fresno, Ca. 93721
 3 Telephone: (559) 256-9800
   Facsimile: (559) 256-9798
 4
     Attorney for Defendant
 5   RICHARD RENTERIA
 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )     CR-F-05-00161 OWW
                                            )
12          Plaintiff,                      )
                                            )     REQUEST TO RELEASE
13                                          )     PROPERTY BOND
                                            )     AFTER SENTENCING
14          v.                              )     AND SURRENDER;
                                            )      ORDER
15                                          )     RELEASING PROPERTY BOND
                                            )     (WITH DEED NUMBER AND
16   RICHARD RENTERIA, et al.               )     APN NUMBER)
                                            )
17                                          )
            Defendants.                     )
18                                         )
19          Defendant having been sentenced on September 11, 2006 to a term of 37
20   months in federal prison, and defendant having surrendered himself to the United
21   States Marshals on October 25, 2006, it is hereby requested that the property bond
22   posted by RICHARD RENTERIA’s mother, JANIE DOMINGEUZ, in the amount
23   of $150,000.00, be hereby released.
24
25   DATED: February 7, 2007               /s/ Katherine Hart
                                           KATHERINE HART
26
27
28   Request to Release Property Bond
      Case 1:05-cr-00161-LJO Document 519 Filed 02/08/07 Page 2 of 2


 1                                         ORDER
 2
            Defendant RICHARD RENTERIA having been sentenced to a term of 37
 3
     months in custody, and defendant having surrendered to the federal marshals to
 4
     serve his prison term, and criminal proceedings having been closed against said
 5
     defendant, it is hereby ordered as follows:
 6
                   That the Clerk of the Eastern District is hereby ordered
 7
                   to release the       property bond in the amount of
 8
                   $150,000.00 posted by JANIE DOMINGEZ;
 9
                   Deed No. 2005-0129424 (Fresno County)
10
                   Assessor’s Parcel Number (APN): 499-322-17
11
12
     IT IS SO ORDERED.
13
     Dated: February 7, 2007                   /s/ Oliver W. Wanger
14   emm0d6                               UNITED STATES DISTRICT JUDGE
15
16
17
18
19
20
21
22
23
24
25
26
27
28   Request to Release Property Bond         2
